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            IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION




UNITED STATES OF AMERICA

V.                                NO. 4:03cr00196-001 SWW

BRIDGET JONES



                                  ORDER

     Before the Court is the government’s motion for revocation of the

conditions of supervised release [doc #261] and a supplemental motion

to revoke conditions of supervised release [doc #268] previously granted

the above defendant in this matter.

     A hearing is scheduled on THURSDAY, DECEMBER 4, 2008, at 1:00 P.M.,

Courtroom #1D, Richard Sheppard Arnold United States Courthouse, 500 West

Capitol Avenue, Little Rock, Arkansas, to show cause why the supervised

release previously granted this defendant should not be revoked.

     IT IS THEREFORE ORDERED that the Clerk of Court is directed to issue

a summons for Bridget Jones, and the United States Marshal is directed
to serve the summons in this matter upon defendant.

     IT IS SO ORDERED this 17th day of October 2008.



                                          /s/Susan Webber Wright
                                          UNITED STATES DISTRICT JUDGE
